          Case 20-02297-dd                      Doc 2 Filed 05/27/20 Entered 05/27/20 12:20:34                                                 Desc Ch 13
                                                   First Mtg Notice (BNC) Page 1 of 2
Information to identify the case:

                       Lora Marie Whittle                                                     Social Security number or ITIN:      xxx−xx−8985
Debtor 1:
                                                                                              EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                     Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     District of South Carolina                                    Date case filed for chapter:            13     5/27/20

Case number:          20−02297−dd

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                        12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                       About Debtor 2:
1. Debtor's full name                              Lora Marie Whittle

2. All other names used in the
   last 8 years
                                                   aka Lora M Whittle, aka Lora Whittle

                                                   748−A Crooked Creek Road
3. Address                                         Chapin, SC 29036
                                                   Jason T. Moss                                                         Contact phone (803)933−0202
4. Debtor's  attorney
   Name and address
                                                   Moss & Associates, Attorneys, P.A.
                                                   816 Elmwood Avenue                                                    Email Lindsey@mossattorneys.com
                                                   Columbia, SC 29201

5. Bankruptcy trustee                              Pamela Simmons−Beasley                                                Contact phone 803−779−5180
     Name and address                              250 Berryhill Road                                                    Email ecf@ch13trustee.net
                                                   Suite 402
                                                   Columbia, SC 29210

6. Bankruptcy clerk's office                                                                                             Hours open 9:00 am − 5:00 pm
     Documents in this case may be filed           J. Bratton Davis United States                                        Contact phone 803−765−5436
     at this address.                              Bankruptcy Courthouse                                                 Date: 5/27/20
     You may inspect all records filed in          1100 Laurel Street
     this case at this office or online at         Columbia, SC 29201−2423
      www.pacer.gov.

7. Meeting of creditors
    Debtors must attend the meeting to July 15, 2020 at 09:00 AM                                                      Location:
    be questioned under oath. In a joint The meeting may be continued or adjourned to a later                         U.S. Trustee's Office, Room 557, Strom
    case, both spouses must attend.      date. If so, the date will be on the court docket. *** Valid                 Thurmond Federal Building, 1835 Assembly
    Creditors may attend, but are not    photo identification required ***                                            Street, Columbia, SC 29201
    required to do so.
                                                                                                                                 For more information, see page 2


Official Form 309I                                         Notice of Chapter 13 Bankruptcy Case                                                    page 1
         Case 20-02297-dd                  Doc 2 Filed 05/27/20 Entered 05/27/20 12:20:34                                              Desc Ch 13
                                              First Mtg Notice (BNC) Page 2 of 2
Debtor Lora Marie Whittle                                                                                                           Case number 20−02297−dd

8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 9/14/20
   The bankruptcy clerk's office must      dischargeability of certain debts: You must file:
   receive these documents and any         •   a motion if you assert that the debtors are
   required filing fee by the following        not entitled to receive a discharge under
   deadlines.                                  U.S.C. § 1328(f) or
                                           •   a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim (except              Filing deadline: 8/5/20
                                           governmental units):
                                           Deadline for governmental units to file a proof of claim:                Filing deadline: 11/23/20


                                           Deadlines for filing proof of claim:
                                            A Proof of Claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                           www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                           not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                           that the debtor filed.

                                           Secured creditors retains rights in its collateral regardless of whether that creditor files a Proof of Claim.

                                           Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a
                                           lawyer can explain. For example, a secured creditor who files a proof of claim may surrender important
                                           nonmonetary rights, including the right to a jury trial.

                                           You may electronically file claims at http://www.scb.uscourts.gov/electronic−filing−claims.


                                           Deadline to object to exemptions:                                        Filing deadline:     30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Hearing on Confirmation                The confirmation hearing will be held on:
                                          8/24/20 at 10:00 AM , Location: J. Bratton Davis United States, Bankruptcy Courthouse, 1100 Laurel
                                          Street, Columbia, SC 29201−2423. A copy of the plan will be sent separately by the debtor. This hearing may
                                          be continued or rescheduled as necessary and due notice will be given.

                                          Any objection to confirmation of the chapter 13 plan must be filed and served at least seven days prior to the
                                          confirmation hearing. Objections to the confirmation may be overruled if the objecting creditor fails to appear
                                          and prosecute the objection. If no objection is timely filed, the plan may be confirmed on recommendation of the
                                          trustee. The debtor(s) is/are required to appear at the confirmation hearings unless excused by order of the
                                          Court or Chambers Guidelines.
10. Creditors with a foreign              If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                               extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                          questions about your rights in this case.
11. Filing a chapter 13                   Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                       according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                          plan and appear at the confirmation hearing. A copy of the plan will be sent to you later and the confirmation
                                          hearing will be held on the date shown in line 9 of this notice. The debtor will remain in possession of the
                                          property and may continue to operate the business, if any, unless the court orders otherwise.
12. Exempt property                       The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                          to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                          You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                          does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                    Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                          However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                          are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                          as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                          523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                          you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                          must file a motion by the deadline. The bankruptcy clerk's office must receive the objection by the deadline to
                                          object to exemptions in line 8.
14. Dismissal Notice                      This case may be converted or dismissed at the confirmation hearing for a failure to: file a confirmable chapter
                                          13 plan, pay the applicable filing fee, file or provide documents, attend the meeting of creditors, or timely make
                                          payments due under a chapter 13 plan as required by the Bankruptcy Code, the Federal Rules of Bankruptcy
                                          Procedure or the Local Rules of this Court, or the applicable judge's Chambers Guidelines.
15. Miscellaneous Notice                  The Voice Case Information System (VCIS) will give status information on cases filed or converted after
                                          11/30/88. Call 1−866−222−8029. Please refer to the Court's web site at www.scb.uscourts.gov for further
                                          information.
16. Options to Receive Notices            (1) Anyone can register for the Electronic Bankruptcy Noticing program at bankruptcynotices.uscourts.gov OR
    Served by the Clerk by                (2) Debtors can register for DeBN by filing local form 'Debtor's Electronic Noticing Request (DeBN)' with the
                                          Clerk of Court. Both options are FREE and allow the clerk to quickly send you court−issued notices and orders
    Email Instead of by U.S.              by email. See Local Rule 9036−1.
    Mail




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
